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Attorney for Defendant,

Govardhan G. Dyavarashetty

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

x
UNITED STATES OF AMERICA
Hon. Madeline Cox Arleo
Plaintiff,
Docket No. 17-CR-203(MCA)
Vv.
GOVARDHAN G. DYAVARASHETTY
: CERTIFICATION IN SUPPORT
Defendant. : MOTION TO TERMINATE PROBATION
x

 

|, Jerard A. Gonzalez, Esq., certify upon information and belief, the following:

1. This Law Firm represents Govardhan G. Dyavarashetty.

2. Govardhan G. Dyavarashetty has been reporting regularly for probation via
computer since his sentencing in September 2017.

3. On September 18, 2017, Your Honor sentenced Mr. Dyavarashetty to
probation for twelve (12) months with special conditions to cooperate with
Immigration and Customs Enforcement (“ICE”) and seek mental health
treatment. (See Judgment of Conviction, attached as Exhibit A).

4. Mr. Dyavarashetty is a citizen of India and entered the United States on

January 31, 2009 under an H-1B work visa. He has been compliant with
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probation and mental health treatment as required. Additionally, Mr.
Dyavarashetty is on deferred action status with ICE. (See Deferred Action
letter, attached as Exhibit B).

5. Mr. Dayavarashetty and his wife do not have any immediate family members
that currently reside in the United States and would like to return to India to be
with their families.

6. We have advised AUSA Dennis Carletta who had no opposition to the motion.

| hereby certify that the foregoing statements made by me in this Certification are

true to the best of my knowledge and belief. | am aware that if the foregoing statements

made by me are willfully false, | am subject to punishment.

 

 

Dated: //) . ig EN
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